To:           Case 2:19-cv-19985-WJM-MF Document 16 Filed 01/22/20
      .2age-a-ef-€----—————-—————-——————-————-———-—e—q.aearnw                       Page   1 ofi,eps
                                                                                     Jyinrpnn    2 PageID:     150Tawanna V.
                                                                                                     From: Barron,


                                           M F Document 9 Filed 12/06/19          Page 1 of 3 Pag?ID: 79



            MORGAN, LEWIS & BOCKIUS LLP
            (A Pennsylvania Limited Liability Partnership)
            502 Carnegie Center
            Princeton, New Jersey 08540-7814
            August W. Heckman ID (030222005)
            Ashley D. Chihon (198822016)
            Phone: (609) 919-6600
            Fax: (609) 919-6701
            Attorneys for Defendant Amccon. Loll? Services, Inc.

                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEW JERSEY


               D.J.C.,
                                                             Civil Action No.: 2:19-cv-19985
                                     Plaintiff,
                                                            STIPULATION OF EXTENSION OF TIME
               vs.                                          FOR DEFENDANT TO ANSWER, MOVE,
                                                            OR OTHERWISE RESPOND TO
               AMAZON COM DEDC, LLC; ABC                    PLAINTIFF’S COMPLAINT DOCUMENT
               CORPS (I—V); AND TYLER
                                                             ELECTRONICALLY FILED
               MORALES. INDIVIDUALLY. AND
               JANE DOE INDIVIDUALS (I-JO),

                             Defendants

                     This Stipulation is made and entered into by Delendant Amazon.com Services, Inc.

             (“Defendant” or “Amazon”) (incorrectly identified in the Complaint as “AMAZON COM

             DEDC, LLC”) and Plaintiff D.P.C. (incorrectly identified in the Complaint as “D.J.C.”)

                     WHEREAS, on November 19, 2019, Plaintiff moved this Court for leave to amend the

             Complaint and to remand the matter to the Middlesex County Superior Court (“Motion to

             Amend and Remand”). See ECF No. 4.

                     WHEREAS on November 25, 2019 Defendant submitted a letter to this Court asking for

             an extension of time to respond to Plaintiffis Motion to Amend and Remand, and to answer,

             move or otherwise respond to the Complaint to December 16, 2019, as lead counsel for

             Defendant suffered a death in his flimily. See ECF No. 6.
Case 2:19-cv-19985-WJM-MF Document      16 Filed
                           2020-01 -21 17:23:43 (GMT)01/22/20 Page 2 ofLes
                                                                Morgan  2 PageID:    151Tawannay.
                                                                           From: Barron,


                                                       ci RkjJO6/19_2agalof 3 PaoeIDzBD—



            WHEREAS the parties now agree thai the deadline for responsive pleading be adjourned

    until after the threshold jurisdictional and substantive   issues   raised by PlaintifTs Motion to

    Amend and Remand are resolved.

            IT IS hEREBY STIPULATED, CONSENTED TO, AND AGREED that the time for

    Defendant Amazon to answer, move, or otherwise respond to Plaintiff D.P.C.’s Complaint in the

    above-captioned matter, should ft remain the operative Complaint, is extended to 14 days after

    the Court has ruled on Plaintiff’s Motion to Amend and Remand.

    Dated: December 6,2019

     GILL & CHAMAS, L.L.C.,                                    MORGAN, LEWIS & BOCKIUS LLP

     s/ Walter Dana Veuncinan                                  5/ August A. fleck-man
     Walter Dana Venneman, Esq.,                               August W. Heckman Ill
     Gill & Chamas, L.L.C.,                                    Ashley D. Chilton
     655 Florida Grove Road,                                   502 Carnegie Center
     P.O. Box 760, Woodbridue, NJ 07095                        Princeton, New Jersey 08540-78 14
     Anonwi’ fbi PIainrj’                                      Telephone: (609) 919-6600
                                                               Facsimile: (609) 919-6701
                                                               august .heckmanmorganlewis .com
                                                               ashley. eh II tonrnorganlew is. corn
                                                               A noi’ncvs for De/c;idant Amazon. corn
                                                               Scn’iccv, inc.




“   HON. MARK FALK
                                                 9   SD




                                                       7
